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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MIKE SHAFER, DAVID KEATING,
and WILLIAM JEFFREY IGOE, on
Behalf of Themselves and All Others            Case No. 1:23-cv-00577-LMM
Similarly Situated,

                          Plaintiffs,
             v.

GLOBAL PAYMENTS INC., ACTIVE
NETWORK LLC, JEFF SLOAN,
CAMERON BREADY, PAUL TODD,
JOSH WHIPPLE, and ANDREA FACINI,

                          Defendants.

    ORDER AND FINAL JUDGMENT APPROVING CLASS ACTION
                       SETTLEMENT

      WHEREAS, an action is presently pending in this Court entitled Shafer, et al.

v. Global Payments Inc., et al., Civil Action No. 1:23-cv-00577-LMM (the

“Action”);

      WHEREAS, (a) Co-Lead Plaintiffs Mike Shafer, David Keating, and

Williams Jeffrey Igoe (“Co-Lead Plaintiffs”), on behalf of themselves and the

Settlement Class, and (b) defendant Global Payments Inc. (“Global Payments” or

the “Company”), defendant Active Network, LLC (“Active”), and defendants Jeff

Sloan, Cameron Bready, Paul Todd, Josh Whipple, and Andrea Facini (collectively,

the “Individual Defendants,” and together with Global Payments and Active, the
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“Defendants”; and together with Co-Lead Plaintiffs, the “Parties”) have determined

to settle all claims asserted against Defendants in this Action with prejudice on the

terms and conditions set forth in the Stipulation and Agreement of Settlement dated

June 10, 2024 (the “Stipulation”), subject to the approval of this Court (the

“Settlement”);

      WHEREAS, pursuant to Rule 23(a) and (b)(3) of the Federal rules of Civil

Procedure, the Court certifies, solely for the purposes of effectuating the proposed

Settlement, a Settlement Class consisting of all persons and entities who purchased

or otherwise acquired publicly traded Global Payments Securities during the period

of time from October 31, 2019 through and including October 18, 2022, inclusive

(the “Class Period”), and who were damaged thereby. Excluded from the Settlement

Class are: (i) Defendants; (ii) any current or former officers or directors of Global

Payments or Active who served in such capacities during the Class Period; (iii)

members of the immediate family of each of the Individual Defendants or any

current or former officer or director of Global Payments or Active who served in

such capacities during the Class Period; (iv) any entity that any Defendant owns or

controls, or owned or controlled, during the Class Period; (v) any affiliates, parents,

or subsidiaries of Global Payments or Active; and (vi) the legal representatives,

heirs, successors, and assigns of any such excluded persons. Also excluded from the




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Settlement Class are the persons and entities listed on Exhibit 1 hereto who or which

are excluded from the Settlement Class pursuant to request.

      WHEREAS, unless otherwise defined in the Judgment, the capitalized terms

shall have the same meanings as they have in the Stipulation;

      WHEREAS, by Order dated August 26, 2024 (the “Preliminary Approval

Order”), the Court: (a) found, pursuant to Rule 23(e)(1)(B), that it would likely be

able to approve the Settlement as fair, reasonable, and adequate under Rule 23(e)(2);

(b) ordered that notice of the proposed Settlement be provided to potential

Settlement Class Members; (c) provided Settlement Class Members with the

opportunity to either exclude themselves from the Settlement Class or to object to

the proposed Settlement; and (d) scheduled a hearing regarding final approval of the

Settlement;

      WHEREAS, due and adequate notice has been given to the Settlement Class;

      WHEREAS, the Court conducted a hearing on December 11, 2024 (the

“Settlement Hearing”) to consider among other things, (a) whether the terms and

conditions of the Settlement are fair, reasonable, and adequate to the Settlement

Class, and should therefore be approved; and (b) whether a judgment should be

entered dismissing the Action with prejudice as against the Defendants; and

      WHEREAS, the Court having reviewed and considered the Stipulation, all

papers filed and proceedings held herein in connection with the Settlement, all oral



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and written comments received regarding the Settlement, and the record in the

Action, and good cause appearing therefor;

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

      1.     Jurisdiction – The Court has jurisdiction to enter this Order and Final

Judgment. The Court has jurisdiction over the subject matter of the Action, and all

matters relating to the Settlement, as well as personal jurisdiction over all the Parties

and each of the Settlement Class Members.

      2.     Incorporation of Settlement Documents                   – This Judgment

incorporates and makes a part hereof: (a) the Stipulation filed with the Court on

August 2 , 2024, and (b) the Notice and the Summary Notice, both of which were

filed with the Court on August 2, 2024.

      3.     Notice – The Court finds that the dissemination of the Postcard Notice,

the posting of the Notice and Claim Form and the publication of the Summary

Notice: (a) were implemented in accordance with the Preliminary Approval Order;

(b) constituted the best notice practicable under the circumstances; (c) constituted

notice that was reasonably calculated, under the circumstances, to apprise Settlement

Class Members of (i) the pendency of the Action; (ii) the effect of the proposed

Settlement (including the Releases to be provided thereunder); (iii) Co-Lead

Counsel’s motion for attorneys’ fees and Litigation Expenses; (iv) their right to

object to any aspect of the Settlement, the Plan of Allocation and/or Co-Lead



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Counsel’s motion for attorneys’ fees and Litigation Expenses; (v) their right to

exclude themselves from the Settlement Class; and (vi) their right to appear at the

Settlement Hearing; (d) constituted due, adequate, and sufficient notice to all persons

and entities entitled to receive notice of the proposed Settlement; and (e) satisfied

the requirements of Rule 23 of the Federal Rules of Civil Procedure, the United

States Constitution (including the Due Process Clause), the Private Securities

Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, et seq., as amended, and all other

applicable law and rules.

      4.     Compliance with CAFA – Defendants have filed a Declaration

Regarding Compliance with the Class Action Fairness Act of 2005 (“CAFA”), 28

U.S.C. § 1715. Defendants timely mailed notice of the Stipulation pursuant to 28

U.S.C. § 1715(b), including notices to the Attorney General of the United States of

America, and the Attorneys General of all states in which members of the Settlement

Class reside. The notice contains the documents and information required by 28

U.S.C. § 1715(b)(1)-(8). The Court finds that Defendants have complied in all

respects with the requirements of 28 U.S.C. § 1715.

      5.     Final Settlement Approval and Dismissal of Claims – Pursuant to,

and in accordance with, Rule 23(e)(2) of the Federal Rules of Civil Procedure, this

Court hereby fully and finally approves the Settlement set forth in the Stipulation in

all respects (including, without limitation, the amount of the Settlement, the Releases



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provided for therein, and the dismissal with prejudice of the claims asserted against

Defendants in the Action), and finds that the Settlement is, in all respects, fair,

reasonable and adequate to the Settlement Class. Specifically, the Court finds that

(a) Co-Lead Plaintiffs and Co-Lead Counsel have adequately represented the

Settlement Class; (b) the Settlement was negotiated by the Parties at arm’s length;

(c) the relief provided for the Settlement Class under the Settlement is adequate

taking into account the costs, risks, and delay of trial and appeal, the proposed means

of distributing the Settlement Fund to the Settlement Class; and the proposed

attorneys’ fee award; and (d) the Settlement treats members of the Settlement Class

equitably relative to each other. The Parties are directed to implement, perform, and

consummate the Settlement in accordance with the terms and provisions contained

in the Stipulation.

      6.     The Action and all claims asserted against Defendants in the Action by

Co-Lead Plaintiffs and the other Settlement Class Members are hereby dismissed

with prejudice. The Parties shall bear their own costs and expenses, except as

otherwise expressly provided in the Stipulation.

      7.     Binding Effect – The terms of the Stipulation and of this Judgment

shall be forever binding on Defendants, Co-Lead Plaintiffs, and all other Settlement

Class Members (regardless of whether or not any individual Settlement Class

Member submits a Claim Form or seeks or obtains a distribution from the Net



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Settlement Fund), as well as their respective successors and assigns. The persons

and entities listed on Exhibit 1 hereto are excluded from the Settlement Class

pursuant to request and are not bound by the terms of the Stipulation or this

Judgment.

      8.     Releases – The Releases set forth in paragraphs 4 and 5 of the

Stipulation, together with the definitions contained in paragraph 1 of the Stipulation

relating thereto, are expressly incorporated herein in all respects. The Releases are

effective as of the Effective Date. Accordingly, this Court orders that:

      a.     Without further action by anyone, and subject to paragraph 10 below,

             upon the Effective Date of the Settlement, Co-Lead Plaintiffs and each

             of the other Settlement Class Members, on behalf of themselves, and

             their respective heirs, executors, administrators, predecessors,

             successors, and assigns in their capacities as such, (i) shall be deemed

             to have, and by operation of law and of this Judgment shall have, fully,

             finally, and forever compromised, settled, released, resolved,

             relinquished, waived, and discharged each and every Released

             Plaintiffs’ Claim against the Defendants and the other Defendants’

             Releasees; (ii) shall be deemed to have, and by operation of law and of

             this Judgment shall have, covenanted not to commence, institute,

             maintain, or prosecute any or all of the Released Plaintiffs’ Claims



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            against any of the Defendants or the other Defendants’ Releasees; and

            (iii) shall forever be barred and enjoined from commencing, instituting,

            prosecuting, or maintaining any or all of the Released Plaintiffs’ Claims

            against any of the Defendants’ Releasees.

      b.    Without further action by anyone, and subject to paragraph 9 below,

            upon the Effective Date of the Settlement, Defendants, on behalf of

            themselves, and their respective heirs, executors, administrators,

            predecessors, successors, and assigns in their capacities as such, shall

            be deemed to have, and by operation of law and of this Judgment shall

            have, fully, finally, and forever compromised, settled, released,

            resolved, relinquished, waived, and discharged each and every

            Released Defendants’ Claim against Co-Lead Plaintiffs and the other

            Plaintiffs’ Releasees, and shall have covenanted not to and shall forever

            be enjoined from prosecuting any or all of the Released Defendants’

            Claims against any of the Plaintiffs’ Releasees. This Release shall not

            apply to any person or entity listed on Exhibit 1 hereto.

      9.    Notwithstanding paragraphs 8(a) – (b) above, nothing in this Judgment

shall bar any action by any of the Parties to enforce or effectuate the terms of the

Stipulation or this Judgment.




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      10.   Rule 11 Findings – The Court finds and concludes that the Parties and

their respective counsel have complied in all respects with the requirements of Rule

11 of the Federal Rules of Civil Procedure in connection with the institution,

prosecution, defense, and settlement of the Action.

      11.   No Admissions – Neither this Judgment, the Term Sheet, the

Stipulation (whether or not consummated), including the exhibits thereto and the

Plan of Allocation contained therein (or any other plan of allocation that may be

approved by the Court), the negotiations leading to the execution of the Term Sheet

and the Stipulation, nor any proceedings taken pursuant to or in connection with the

Term Sheet, the Stipulation and/or approval of the Settlement (including any

arguments proffered in connection therewith):

      a.    shall be offered against any of the Defendants’ Releasees as evidence

            of, or construed as, or deemed to be evidence of any presumption,

            concession, or admission by any of the Defendants’ Releasees with

            respect to the truth of any fact alleged by Co-Lead Plaintiffs or the

            validity of any claim that was or could have been asserted or the

            deficiency of any defense that has been or could have been asserted in

            this Action or in any other litigation, or of any liability, negligence,

            fault, or other wrongdoing of any kind of any of the Defendants’

            Releasees or in any way referred to for any other reason as against any



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            of the Defendants’ Releasees, in any civil, criminal, or administrative

            action or proceeding, other than such proceedings as may be necessary

            to effectuate the provisions of the Stipulation;

      b.    shall be offered against any of the Plaintiffs’ Releasees, as evidence of,

            or construed as, or deemed to be evidence of any presumption,

            concession or admission by any of the Plaintiffs’ Releasees that any of

            their claims are without merit, that any of the Defendants’ Releasees

            had meritorious defenses, or that damages recoverable under the

            Complaint would not have exceeded the Settlement Amount or with

            respect to any liability, negligence, fault or wrongdoing of any kind, or

            in any way referred to for any other reason as against any of the

            Plaintiffs’ Releasees, in any civil, criminal, or administrative action or

            proceeding, other than such proceedings as may be necessary to

            effectuate the provisions of the Stipulation; or

      c.    shall be construed against any of the Releasees as an admission,

            concession, or presumption that the consideration to be given under the

            Settlement represents the amount which could be or would have been

            recovered after trial;

provided, however, that the Parties and the Releasees and their respective counsel

may refer to this Judgment and the Stipulation to effectuate the protections from



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liability granted hereunder and thereunder otherwise to enforce the terms of the

Settlement.

      12.     Retention of Jurisdiction – Without affecting the finality of this

Judgment in any way, this Court retains continuing and exclusive jurisdiction over:

(a) the Parties for purposes of the administration, interpretation, implementation, and

enforcement of the Settlement; (b) the disposition of the Settlement Fund; (c) any

motion for an award of attorneys’ fees and/or Litigation Expenses by Co-Lead

Counsel in the Action that will be paid from the Settlement Fund; (d) any motion to

approve the Plan of Allocation; (e) any motion to approve the Class Distribution

Order; and (f) the Settlement Class Members for all matters relating to the Action.

      13.     Separate orders shall be entered regarding approval of a plan of

allocation and the motion of Co-Lead Counsel for an award of attorneys’ fees and

reimbursement of Litigation Expenses. Such orders shall in no way affect or delay

the finality of this Judgment and shall not affect or delay the Effective Date of the

Settlement.

      14.     Modification of the Agreement of Settlement – Without further

approval from the Court, Co-Lead Plaintiffs and Defendants are hereby authorized

to agree to and adopt such amendments or modifications of the Stipulation or any

exhibits attached thereto to effectuate the Settlement that: (a) are not materially

inconsistent with this Judgment; and (b) do not materially limit the rights of



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Settlement Class Members in connection with the Settlement. Without further order

of the Court, Co-Lead Plaintiffs and Defendants may agree to reasonable extensions

of time to carry out any provisions of the Settlement.

      15.    Termination of Settlement – If the Settlement is terminated as

provided in the Stipulation or the Effective Date of the Settlement otherwise fails to

occur, this Judgment shall be vacated, rendered null and void, and be of no further

force and effect, except as otherwise provided by the Stipulation; this Judgment shall

be without prejudice to the rights of Co-Lead Plaintiffs, the other Settlement Class

Members, and Defendants; the Settlement Fund, less any Notice and Administration

Costs actually incurred, paid, or payable and less any Taxes paid, due, or owing,

subject to appropriate adjustment in the event any tax refund is obtained pursuant to

the Stipulation, shall be refunded by the Escrow Agent to Global Payments (or such

other persons or entities that Defendants’ Counsel may direct in writing) as provided

by the Stipulation; and the Parties shall revert to their respective positions in the

Action as of May 21, 2024, as provided in the Stipulation.

      16.    Entry of Final Judgment – There is no just reason to delay the entry

of this Judgment as a final judgment in this Action. Accordingly, the Clerk of the

Court is expressly directed to immediately enter this final judgment in this Action.




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                    13th
SO ORDERED this ____________         December
                             day of _____________, 2024.




                                        ________________________________
                                             The Honorable Leigh Martin May
                                              United States District Judge




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                                Exhibit 1

Beniamino Giusti

Christian-Daniel Wilm

Malta Pension Investments

Edwards Family Trust U/A DTD 01/01/1999

Fu Sheng Wu

Sandra P Kowalski




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